                Case 25-31072-swe13                               Doc 9         Filed 04/10/25 Entered 04/10/25 15:02:52                                                     Desc Main
                                                                               Document     Page 1 of 52
 Fill in this information to identify your case:

  Debtor 1                      ShayLa                      Deniece                  Willis
                               First Name                  Middle Name              Last Name

  Debtor 2
  (Spouse, if filing)          First Name                  Middle Name              Last Name

  United States Bankruptcy Court for the:                                   Northern District of Texas

  Case number                           25-31072-13                                                                                                                      ❑ Check if this is an
  (if known)                                                                                                                                                                 amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all
of your schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a
new Summary and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                                              Your assets
                                                                                                                                                                              Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                    $318,750.00

    1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                            $52,222.00

    1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                    $370,972.00



 Part 2: Summarize Your Liabilities



                                                                                                                                                                              Your liabilities
                                                                                                                                                                              Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                            $729,728.00

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................                                                    $34,163.00

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                         +          $177,836.44

                                                                                                                                                  Your total liabilities                  $941,727.44

 Part 3: Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                    $9,291.73


 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                  $7,431.13




Official Form 106Sum                                           Summary of Your Assets and Liabilities and Certain Statistical Information                                                        page 1 of 2
             Case 25-31072-swe13                    Doc 9      Filed 04/10/25 Entered 04/10/25 15:02:52                                    Desc Main
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Debtor 1            ShayLa                Deniece                Willis                                            Case number (if known) 25-31072-13
                    First Name            Middle Name            Last Name



Part 4: Answer These Questions for Administrative and Statistical Records



6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
   ❑ No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
   ✔ Yes
   ❑

7. What kind of debt do you have?
   ✔ Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
   ❑
       family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

   ❑ Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
       this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                          $20,000.91




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                Total claim

     From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)                                                                              $0.00


    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                                 $30,000.00


    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                                           $0.00


    9d. Student loans. (Copy line 6f.)                                                                                     $109,874.36


    9e.Obligations arising out of a separation agreement or divorce that you did not report as priority                           $0.00
       claims. (Copy line 6g.)



    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                  +                     $0.00


    9g. Total. Add lines 9a through 9f.                                                                                 $139,874.36




Official Form 106Sum                              Summary of Your Assets and Liabilities and Certain Statistical Information                            page 2 of 2
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                                                                          Document     Page 3 of 52
 Fill in this information to identify your case and this filing:

  Debtor 1                 ShayLa                       Deniece                      Willis
                           First Name                  Middle Name                  Last Name

  Debtor 2
  (Spouse, if filing)      First Name                  Middle Name                  Last Name

  United States Bankruptcy Court for the:                        Northern                    District of           Texas

  Case number             25-31072-13                                                                                                                                  ❑ Check if this is an
                                                                                                                                                                         amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                 12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in
the category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are
equally responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.

  Part 1:               Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        ❑ No. Go to Part 2.
        ✔ Yes. Where is the property?
        ❑
                                                                  What is the property? Check all that apply.                           Do not deduct secured claims or exemptions. Put
        1.1      1945 Snowball Ln.                                ✔ Single-family home
                                                                  ❑                                                                     the amount of any secured claims on Schedule D:
                Street address, if available, or other            ❑ Duplex or multi-unit building                                       Creditors Who Have Claims Secured by Property.
                description                                       ❑ Condominium or cooperative                                         Current value of the            Current value of the
                                                                  ❑ Manufactured or mobile home                                        entire property?                portion you own?
                                                                  ✔ Land
                                                                  ❑
                                                                  ❑ Investment property                                                            $637,500.00                 $318,750.00
                 Red Oak, TX 75154                                ❑ Timeshare                                                          Describe the nature of your ownership interest
                                                                  ❑ Other
                City               State         ZIP Code
                                                                                                                                       (such as fee simple, tenancy by the entireties, or
                                                                  Who has an interest in the property? Check one.                      a life estate), if known.
                County
                                                                  ❑ Debtor 1 only                                                       Homestead
                                                                  ❑ Debtor 2 only
                                                                  ❑ Debtor 1 and Debtor 2 only                                         ✔ Check if this is community property
                                                                                                                                       ❑
                                                                  ✔ At least one of the debtors and another
                                                                  ❑                                                                         (see instructions)

                                                                  Other information you wish to add about this item, such as local
                                                                  property identification number:

                                                                  Source of Value: Zillow



                                                                                                                                                                   ➔
 2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
        you have attached for Part 1. Write that number here ...................................................................................................
                                                                                                                                                                               $318,750.00



  Part 2:               Describe Your Vehicles

 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


 3.        Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           ❑ No
           ✔ Yes
           ❑


Official Form 106A/B                                                                Schedule A/B: Property                                                                             page 1
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       3.1     Make:                           Dodge             Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
                                                                 ❑ Debtor 1 only                                                       the amount of any secured claims on Schedule D:
               Model:                         RAM 1500           ❑ Debtor 2 only                                                       Creditors Who Have Claims Secured by Property.
                                                                 ❑ Debtor 1 and Debtor 2 only
               Year:                           2023              ✔ At least one of the debtors and another
                                                                 ❑
                                                                                                                                      Current value of the
                                                                                                                                      entire property?
                                                                                                                                                                      Current value of the
                                                                                                                                                                      portion you own?

               Approximate mileage:            67000             ✔ Check if this is community property (see
                                                                 ❑                                                                                  $27,875.00                 $27,875.00
                                                                      instructions)
               Other information:

                Source of Value: JD Power
                VIN: 1C6SRFJ76PN616400

       If you own or have more than one, describe here:

       3.2     Make:                           Dodge             Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
                                                                 ❑ Debtor 1 only                                                       the amount of any secured claims on Schedule D:
               Model:                       Challenger           ❑ Debtor 2 only                                                       Creditors Who Have Claims Secured by Property.
                                                                 ❑ Debtor 1 and Debtor 2 only
               Year:                           2017              ✔ At least one of the debtors and another
                                                                 ❑
                                                                                                                                      Current value of the
                                                                                                                                      entire property?
                                                                                                                                                                      Current value of the
                                                                                                                                                                      portion you own?

               Approximate mileage:            1100000           ✔ Check if this is community property (see
                                                                 ❑                                                                                  $12,250.00                 $12,250.00
                                                                      instructions)
               Other information:

                Source of Value: JD Power
                Has mechnical issues.
                VIN: 2C3CDZAGXHH624708


 4.    Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
       ✔ No
       ❑
       ❑ Yes

       4.1     Make:                                             Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
                                                                 ❑ Debtor 1 only                                                       the amount of any secured claims on Schedule D:
               Model:                                            ❑ Debtor 2 only                                                       Creditors Who Have Claims Secured by Property.
                                                                 ❑ Debtor 1 and Debtor 2 only                                         Current value of the            Current value of the
                                                                 ❑ At least one of the debtors and another
               Year:
                                                                                                                                      entire property?                portion you own?
               Other information:
                                                                 ❑ Check if this is community property (see
                                                                      instructions)




                                                                                                                                                                  ➔
 5.    Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
       you have attached for Part 2. Write that number here ...................................................................................................
                                                                                                                                                                               $40,125.00



  Part 3:          Describe Your Personal and Household Items

 Do you own or have any legal or equitable                  Current value of the portion you own?
 interest in any of the following items?                    Do not deduct secured claims or exemptions.




Official Form 106A/B                                                               Schedule A/B: Property                                                                             page 2
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Debtor Willis, ShayLa Deniece                                                                        Case number (if known) 25-31072-13



 6.    Household goods and furnishings
       Examples: Major appliances, furniture, linens, china, kitchenware

       ❑ No
       ✔ Yes. Describe. .........
       ❑                            5 bedrooms, 5 bathrooms House – 3 Couches ($1640, 5 Beds ($3000) ,Dining
                                    room table ($1000) dressers ($200), nightstand ($100), bedding and linens                                $6,740.00
                                    ($300), Tables, chairs, bar stools ($500)

 7.    Electronics
       Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                 collections; electronic devices including cell phones, cameras, media players, games

       ❑ No
       ✔ Yes. Describe. .........
       ❑                            Minor Kitchen electronics, Aifryer, cooker, and other utensils
                                                                                                                                             $2,000.00
                                    Used electronics - 3 Cellphoneс, 3 TVs, laptops,

 8.    Collectibles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or
                 baseball card collections; other collections, memorabilia, collectibles

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 9.    Equipment for sports and hobbies
       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and
                 kayaks; carpentry tools; musical instruments

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 10.   Firearms
       Examples: Pistols, rifles, shotguns, ammunition, and related equipment

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                                                                                                                       $525.00
                                    2 Glock 17 9mm


 11.   Clothes
       Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

       ❑ No
       ✔ Yes. Describe. .........
       ❑                            Everyday clothes, socks, shoes, tennis shoes, jackets, shirts, tshirt, sweaters,
                                    jeans, pants, long pants, shorts, hats, scarfs, pjs, winter coats, wallets,                              $2,000.00
                                    purseses, bags, high heels, dresses, flats, sandals, skirts, and other casual
                                    and athletic wear.

 12.   Jewelry
       Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold,
                 silver

       ✔ No
       ❑
       ❑ Yes. Describe. .........



Official Form 106A/B                                                Schedule A/B: Property                                                         page 3
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Debtor Willis, ShayLa Deniece                                                                                                                     Case number (if known) 25-31072-13



 13.   Non-farm animals
       Examples: Dogs, cats, birds, horses

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 14.   Any other personal and household items you did not already list, including any health aids you did not list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. .............




                                                                                                                                                                                    ➔
 15.   Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
       for Part 3. Write that number here .................................................................................................................................
                                                                                                                                                                                                        $11,265.00



  Part 4:             Describe Your Financial Assets

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                   Current value of the
                                                                                                                                                                                               portion you own?
                                                                                                                                                                                               Do not deduct secured
                                                                                                                                                                                               claims or exemptions.

 16.   Cash
       Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

       ❑ No
       ✔ Yes ...................................................................................................................................................
       ❑                                                                                                                                                           Cash: ...................                 $110.00


 17.   Deposits of money
       Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
                 and other similar institutions. If you have multiple accounts with the same institution, list each.

       ❑ No
       ✔ Yes .....................
       ❑                                                                                      Institution name:

                                                                                               capital one
                                             17.1. Checking account:                           Account Number: 2277                                                                                          ($29.00)

                                             17.2. Checking account:                           RBFCU (spouse)                                                                                                $500.00

                                                                                               capital one
                                             17.3. Savings account:                            Account Number: 8934                                                                                             $0.00

                                             17.4. Savings account:                            RBFCU (spouse)                                                                                                $250.00

                                                                                               cash app
                                             17.5. Other financial account:                    Account Number: 1604                                                                                             $0.00


 18.   Bonds, mutual funds, or publicly traded stocks
       Examples: Bond funds, investment accounts with brokerage firms, money market accounts

       ✔ No
       ❑
       ❑ Yes .....................          Institution or issuer name:




Official Form 106A/B                                                                              Schedule A/B: Property                                                                                       page 4
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 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an
       LLC, partnership, and joint venture

       ❑ No
       ✔ Yes. Give specific
       ❑
          information about
          them....................   Name of entity:                                                        % of ownership:

                                      Ada Louise LLC                                                                     50.00%
                                                                                                                                                 $0.00
                                      (nonprofit, feed homedless) est. 2022

                                      The Shi Shack                                                                     100.00%
                                                                                                                                                 $0.00
                                      (salon, not operational, has not began) ets. 2020


 20.   Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

       ✔ No
       ❑
       ❑ Yes. Give specific
          information about
          them....................   Issuer name:




 21.   Retirement or pension accounts
       Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

       ✔ No
       ❑
       ❑ Yes. List each
          account separately. Type of account:                 Institution name:

                                     401(k) or similar plan:

                                     Pension plan:

                                     IRA:

                                     Retirement account:

                                     Keogh:

                                     Additional account:

                                     Additional account:




Official Form 106A/B                                                      Schedule A/B: Property                                                 page 5
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 22.   Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
                 others

       ✔ No
       ❑
       ❑ Yes ......................                         Institution name or individual:

                                      Electric:

                                      Gas:

                                      Heating oil:

                                      Security deposit on rental unit:

                                      Prepaid rent:

                                      Telephone:

                                      Water:

                                      Rented furniture:

                                      Other:


 23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       ✔ No
       ❑
       ❑ Yes .....................    Issuer name and description:




 24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

       ✔ No
       ❑
       ❑ Yes .....................    Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):




 25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable
       for your benefit

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...




Official Form 106A/B                                                       Schedule A/B: Property                                                      page 6
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 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...



 27.   Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...


 Money or property owed to you?                                                                                                     Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured
                                                                                                                                    claims or exemptions.

 28.   Tax refunds owed to you

       ✔ No
       ❑
       ❑ Yes. Give specific information about
                them, including whether you                                                                  Federal:
                already filed the returns and
                the tax years. ...................                                                           State:

                                                                                                             Local:


 29.   Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property
                 settlement

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........
                                                                                                             Alimony:

                                                                                                             Maintenance:

                                                                                                             Support:

                                                                                                             Divorce settlement:

                                                                                                             Property settlement:


 30.   Other amounts someone owes you
       Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                 Social Security benefits; unpaid loans you made to someone else

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........




Official Form 106A/B                                               Schedule A/B: Property                                                           page 7
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 31.   Interests in insurance policies
       Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

       ✔ No
       ❑
       ❑ Yes. Name the insurance company
                   of each policy and list its value. ...            Company name:                                             Beneficiary:                                       Surrender or refund value:




 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
       property because someone has died.

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........


 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples: Accidents, employment disputes, insurance claims, or rights to sue

       ❑ No
       ✔ Yes. Describe each claim. ..............
       ❑                                                                                                                                                                                              $1.00
                                                                  suing southwest airline for discrimination, has an attorney


 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off
       claims

       ✔ No
       ❑
       ❑ Yes. Describe each claim. ..............


 35.   Any financial assets you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........



                                                                                                                                                                              ➔
 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here .................................................................................................................................
                                                                                                                                                                                                  $832.00



  Part 5:            Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37.   Do you own or have any legal or equitable interest in any business-related property?

       ✔ No. Go to Part 6.
       ❑
       ❑ Yes. Go to line 38.
                                                                                                                                                                                    Current value of the
                                                                                                                                                                                    portion you own?
                                                                                                                                                                                    Do not deduct secured
                                                                                                                                                                                    claims or exemptions.




Official Form 106A/B                                                                      Schedule A/B: Property                                                                                      page 8
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 38.   Accounts receivable or commissions you already earned

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 39.   Office equipment, furnishings, and supplies
       Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs,
                 electronic devices

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 40.   Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 41.   Inventory

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 42.   Interests in partnerships or joint ventures

       ✔ No
       ❑
       ❑ Yes. Describe .......
                                 Name of entity:                                                         % of ownership:




 43.   Customer lists, mailing lists, or other compilations

       ✔ No
       ❑
       ❑ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                ❑ No
                ❑ Yes. Describe. .........




Official Form 106A/B                                             Schedule A/B: Property                                                        page 9
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 44.   Any business-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information .........




                                                                                                                                                                              ➔
 45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
       for Part 5. Write that number here .................................................................................................................................
                                                                                                                                                                                                 $0.00



  Part 6:            Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                     If you own or have an interest in farmland, list it in Part 1.
 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

       ✔ No. Go to Part 7.
       ❑
       ❑ Yes. Go to line 47.
                                                                                                                                                                                  Current value of the
                                                                                                                                                                                  portion you own?
                                                                                                                                                                                  Do not deduct secured
                                                                                                                                                                                  claims or exemptions.

 47.   Farm animals
       Examples: Livestock, poultry, farm-raised fish

       ✔ No
       ❑
       ❑ Yes ..........................


 48.   Crops—either growing or harvested

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............


 49.   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

       ✔ No
       ❑
       ❑ Yes ..........................


 50.   Farm and fishing supplies, chemicals, and feed

       ✔ No
       ❑
       ❑ Yes ..........................




Official Form 106A/B                                                                      Schedule A/B: Property                                                                                 page 10
         Case 25-31072-swe13                                       Doc 9 Filed 04/10/25 Entered 04/10/25 15:02:52                                                                       Desc Main
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Debtor Willis, ShayLa Deniece                                                                                                              Case number (if known) 25-31072-13



 51.   Any farm- and commercial fishing-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............




                                                                                                                                                                                ➔
 52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
       for Part 6. Write that number here .................................................................................................................................
                                                                                                                                                                                                  $0.00



  Part 7:            Describe All Property You Own or Have an Interest in That You Did Not List Above

 53.   Do you have other property of any kind you did not already list?
       Examples: Season tickets, country club membership

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............




 54.   Add the dollar value of all of your entries from Part 7. Write that number here .......................................................                                  ➔                 $0.00



  Part 8:            List the Totals of Each Part of this Form

 55.   Part 1: Total real estate, line 2 ........................................................................................................................................   ➔       $318,750.00


 56.   Part 2: Total vehicles, line 5                                                                              $40,125.00

 57.   Part 3: Total personal and household items, line 15                                                         $11,265.00

 58.   Part 4: Total financial assets, line 36                                                                          $832.00

 59.   Part 5: Total business-related property, line 45                                                                     $0.00

 60.   Part 6: Total farm- and fishing-related property, line 52                                                            $0.00

 61.   Part 7: Total other property not listed, line 54                                            +                        $0.00


 62.   Total personal property. Add lines 56 through 61. ...............                                           $52,222.00              Copy personal property total             ➔   +    $52,222.00



 63.   Total of all property on Schedule A/B. Add line 55 + line 62. ........................................................................................                               $370,972.00




Official Form 106A/B                                                                         Schedule A/B: Property                                                                               page 11
           Case 25-31072-swe13                      Doc 9 Filed 04/10/25 Entered 04/10/25 15:02:52                                        Desc Main
                                                         Document     Page 14 of 52
 Fill in this information to identify your case:

  Debtor 1            ShayLa                  Deniece               Willis
                      First Name             Middle Name           Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name           Last Name

  United States Bankruptcy Court for the:               Northern              District of      Texas

  Case number         25-31072-13
  (if known)                                                                                                                            ❑ Check if this is an
                                                                                                                                            amended filing

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                             04/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill out
and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific
dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable
statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited
in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount
and the value of the property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.

      Part 1:     Identify the Property You Claim as Exempt


 1.    Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
       ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
       ❑
       ❑ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2.    For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

       Brief description of the property and        Current value of the       Amount of the exemption you claim             Specific laws that allow exemption
       line on Schedule A/B that lists this         portion you own
       property                                                                Check only one box for each exemption.
                                                    Copy the value from
                                                    Schedule A/B

       Brief             1945 Snowball Ln.                 $318,750.00
       description:      Red Oak, TX 75154                                     ✔
                                                                               ❑            $0.00                            Const. art. 16 §§ 50, 51, Texas
       Line from                                                               ❑ 100% of fair market value, up to            Prop. Code §§ 41.001-.002
       Schedule A/B:        1.1                                                     any applicable statutory limit

 3.    Are you claiming a homestead exemption of more than $189,050?
       (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)

       ✔ No
       ❑
       ❑ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
         ❑ No
         ❑ Yes




Official Form 106C                                       Schedule C: The Property You Claim as Exempt                                               page 1 of 3
           Case 25-31072-swe13                 Doc 9 Filed 04/10/25 Entered 04/10/25 15:02:52                                  Desc Main
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Debtor 1            ShayLa              Deniece             Willis                        Case number (if known) 25-31072-13
                First Name             Middle Name         Last Name



   Part 2:      Additional Page

     Brief description of the property and     Current value of the    Amount of the exemption you claim        Specific laws that allow exemption
     line on Schedule A/B that lists this      portion you own
     property                                                          Check only one box for each exemption.
                                               Copy the value from
                                               Schedule A/B

     Brief             2023 Dodge RAM                  $27,875.00
     description:      1500
                       VIN:
                       1C6SRFJ76PN616400                               ✔
                                                                       ❑          $0.00                          Tex. Prop. Code §§ 42.001(a),
     Line from                                                         ❑ 100% of fair market value, up to        42.002(a)(9)
     Schedule A/B:       3.1                                               any applicable statutory limit

     Brief             2017 Dodge                      $12,250.00
     description:      Challenger
                       VIN:
                       2C3CDZAGXHH624708
                       Has mechnical issues.                           ✔
                                                                       ❑          $0.00                          Tex. Prop. Code §§ 42.001(a),
     Line from                                                         ❑   100% of fair market value, up to
                                                                                                                 42.002(a)(9)
     Schedule A/B:       3.2                                               any applicable statutory limit

     Brief             5 bedrooms, 5                    $6,740.00
     description:      bathrooms House
                       – 3 Couches
                       ($1640, 5 Beds
                       ($3000) ,Dining
                       room table ($1000)
                       dressers ($200),
                       nightstand ($100),
                       bedding and linens
                       ($300), Tables,
                       chairs, bar stools
                       ($500)                                          ✔
                                                                       ❑        $6,740.00                        Tex. Prop. Code §§ 42.001(a),
     Line from                                                         ❑ 100% of fair market value, up to        42.002(a)(1)
     Schedule A/B:           6                                             any applicable statutory limit

     Brief             Minor Kitchen                      $800.00
     description:      electronics,
                       Aifryer, cooker,
                       and other utensils                              ✔
                                                                       ❑         $800.00                         Tex. Prop. Code §§ 42.001(a),
     Line from                                                         ❑ 100% of fair market value, up to        42.002(a)(1)
     Schedule A/B:           7                                             any applicable statutory limit

     Brief             Used electronics -               $1,200.00
     description:      3 Cellphoneс, 3
                       TVs, laptops,                                   ✔
                                                                       ❑        $1,200.00                        Tex. Prop. Code §§ 42.001(a),
     Line from                                                         ❑ 100% of fair market value, up to        42.002(a)(1)
     Schedule A/B:           7                                             any applicable statutory limit




Official Form 106C                                   Schedule C: The Property You Claim as Exempt                                    page 2 of 3
           Case 25-31072-swe13                Doc 9 Filed 04/10/25 Entered 04/10/25 15:02:52                                  Desc Main
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Debtor 1            ShayLa           Deniece              Willis                         Case number (if known) 25-31072-13
                First Name           Middle Name          Last Name



   Part 2:      Additional Page

     Brief description of the property and    Current value of the    Amount of the exemption you claim        Specific laws that allow exemption
     line on Schedule A/B that lists this     portion you own
     property                                                         Check only one box for each exemption.
                                              Copy the value from
                                              Schedule A/B

     Brief             2 Glock 17 9mm                   $525.00
     description:                                                     ✔
                                                                      ❑         $525.00                         Tex. Prop. Code §§ 42.001(a),
     Line from                                                        ❑ 100% of fair market value, up to        42.002(a)(7)
     Schedule A/B:       10                                               any applicable statutory limit

     Brief             Everyday clothes,              $2,000.00
     description:      socks, shoes,
                       tennis shoes,
                       jackets, shirts,
                       tshirt, sweaters,
                       jeans, pants, long
                       pants, shorts, hats,
                       scarfs, pjs, winter
                       coats, wallets,
                       purseses, bags,
                       high heels,
                       dresses, flats,
                       sandals, skirts,
                       and other casual
                       and athletic wear.                             ✔
                                                                      ❑        $2,000.00                        Tex. Prop. Code §§ 42.001(a),
     Line from                                                        ❑   100% of fair market value, up to
                                                                                                                42.002(a)(5)
     Schedule A/B:       11                                               any applicable statutory limit




Official Form 106C                                 Schedule C: The Property You Claim as Exempt                                     page 3 of 3
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                                                UNITED STATES BANKRUPTCY COURT
                                                  NORTHERN DISTRICT OF TEXAS
                                                         DALLAS DIVISION

IN RE:     Willis, ShayLa Deniece                                               CASE NO 25-31072-13

                                                                                CHAPTER 13

                                   SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)

Exemption Totals by Category:
(Values and liens of surrendered property are NOT included in this section)                                   Scheme Selected: State

                                                              Gross              Total                  Total Amount   Total Amount
No.       Category                                    Property Value     Encumbrances    Total Equity         Exempt    Non-Exempt

1.        Real Estate                                           $0.00            $0.00         $0.00           $0.00          $0.00

3.        Motor vehicle                                         $0.00            $0.00         $0.00           $0.00          $0.00

4.        Watercraft, trailers, motors homes, and               $0.00            $0.00         $0.00           $0.00          $0.00
          accessories

6.        Household goods and furnishings                   $6,740.00            $0.00     $6,740.00       $6,740.00          $0.00

7.        Electronics                                       $2,000.00            $0.00     $2,000.00       $2,000.00          $0.00

8.        Collectibles of value                                 $0.00            $0.00         $0.00           $0.00          $0.00

9.        Equipment for sports and hobbies                      $0.00            $0.00         $0.00           $0.00          $0.00

10.       Firearms                                            $525.00            $0.00       $525.00         $525.00          $0.00

11.       Clothes                                           $2,000.00            $0.00     $2,000.00       $2,000.00          $0.00

12.       Jewelry                                               $0.00            $0.00         $0.00           $0.00          $0.00

13.       Nonfarm animals                                       $0.00            $0.00         $0.00           $0.00          $0.00

14.       Other                                                 $0.00            $0.00         $0.00           $0.00          $0.00

16.       Cash                                                $110.00            $0.00       $110.00           $0.00        $110.00

17.       Deposits of money                                   $750.00            $0.00       $750.00           $0.00        $750.00

18.       Bonds, mutual funds, or publicly traded               $0.00            $0.00         $0.00           $0.00          $0.00
          stocks

19.       Business Interests, LLC's,                            $0.00            $0.00         $0.00           $0.00          $0.00
          Partnerships, Joint Ventures and
          Nonpublicly traded stock

20.       Bonds and other financial instruments                 $0.00            $0.00         $0.00           $0.00          $0.00

21.       Retirement or pension accounts                        $0.00            $0.00         $0.00           $0.00          $0.00

22.       Security deposits and prepayments                     $0.00            $0.00         $0.00           $0.00          $0.00

23.       Annuities                                             $0.00            $0.00         $0.00           $0.00          $0.00

24.       Interest in a qualified education fund,               $0.00            $0.00         $0.00           $0.00          $0.00
          such as an education IRA

25.       Trusts, equitable or future interests in              $0.00            $0.00         $0.00           $0.00          $0.00
          property
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                                                UNITED STATES BANKRUPTCY COURT
                                                  NORTHERN DISTRICT OF TEXAS
                                                         DALLAS DIVISION

IN RE:     Willis, ShayLa Deniece                                                    CASE NO 25-31072-13

                                                                                     CHAPTER 13

                                   SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                             Continuation Sheet #1


Exemption Totals by Category:
(Values and liens of surrendered property are NOT included in this section)                                       Scheme Selected: State

                                                              Gross              Total                      Total Amount   Total Amount
No.       Category                                    Property Value     Encumbrances        Total Equity         Exempt    Non-Exempt

26.       Copyrights, trademarks, websites and                  $0.00                $0.00         $0.00           $0.00          $0.00
          other intellectual property

27.       Licenses, Franchises, and other                       $0.00                $0.00         $0.00           $0.00          $0.00
          general intangibles

28.       Tax refunds                                           $0.00                $0.00         $0.00           $0.00          $0.00

29.       Family support                                        $0.00                $0.00         $0.00           $0.00          $0.00

30.       Other amounts owed to the debtor                      $0.00                $0.00         $0.00           $0.00          $0.00

31.       Insurance policies                                    $0.00                $0.00         $0.00           $0.00          $0.00

32.       Interest in property from deceased                    $0.00                $0.00         $0.00           $0.00          $0.00

33.       Claims against third parties                          $1.00                $0.00         $1.00           $0.00          $1.00

34.       All other claims, includes                            $0.00                $0.00         $0.00           $0.00          $0.00
          contingent/unliquidated claims, counter
          claims, and creditor set offs

35.       Other financial asset                                 $0.00                $0.00         $0.00           $0.00          $0.00

38.       Accounts receivable                                   $0.00                $0.00         $0.00           $0.00          $0.00

39.       Office equipment, furnishings, and                    $0.00                $0.00         $0.00           $0.00          $0.00
          supplies

40.       Machinery, fixtures and equipment                     $0.00                $0.00         $0.00           $0.00          $0.00

41.       Inventory                                             $0.00                $0.00         $0.00           $0.00          $0.00

42.       Interests in partnerships or joint                    $0.00                $0.00         $0.00           $0.00          $0.00
          ventures

43.       Customer lists                                        $0.00                $0.00         $0.00           $0.00          $0.00

44.       Other businessrelated property                        $0.00                $0.00         $0.00           $0.00          $0.00

47.       Farm animals                                          $0.00                $0.00         $0.00           $0.00          $0.00

48.       Crops                                                 $0.00                $0.00         $0.00           $0.00          $0.00

49.       Equipment                                             $0.00                $0.00         $0.00           $0.00          $0.00

50.       Supplies                                              $0.00                $0.00         $0.00           $0.00          $0.00

51.       Other farm or fishing related property                $0.00                $0.00         $0.00           $0.00          $0.00
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                                             UNITED STATES BANKRUPTCY COURT
                                               NORTHERN DISTRICT OF TEXAS
                                                      DALLAS DIVISION

IN RE:     Willis, ShayLa Deniece                                                    CASE NO 25-31072-13

                                                                                     CHAPTER 13

                                 SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                             Continuation Sheet #2


Exemption Totals by Category:
(Values and liens of surrendered property are NOT included in this section)                                       Scheme Selected: State

                                                              Gross              Total                      Total Amount   Total Amount
No.       Category                                    Property Value     Encumbrances        Total Equity         Exempt    Non-Exempt

53.       Other                                                 $0.00                $0.00         $0.00           $0.00          $0.00

                     TOTALS:                               $12,126.00                $0.00    $12,126.00      $11,265.00        $861.00
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                                              UNITED STATES BANKRUPTCY COURT
                                                NORTHERN DISTRICT OF TEXAS
                                                       DALLAS DIVISION

IN RE:      Willis, ShayLa Deniece                                                     CASE NO 25-31072-13

                                                                                       CHAPTER 13

                                 SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                               Continuation Sheet #3


Surrendered Property:
The following property is to be surrendered by the debtor. Although this property is NOT exempt, it is NOT considered "non-exempt" for
purposes of this analysis. The below listed items are to be returned to the lienholder

Property Description                                                             Market Value                 Lien                       Equity

Real Property
(None)

Personal Property
(None)

                           TOTALS:                                                      $0.00                 $0.00                        $0.00

Non-exempt Property by Item:
The following property, or a portion thereof, is non-exempt.

Property Description                                            Market Value                    Lien         Equity    Non-Exempt Amount

 Real Property
(None)

 Personal Property
Cash                                                                  $110.00               $0.00        $110.00                         $110.00

suing southwest airline for discrimination, has an                       $1.00              $0.00             $1.00                        $1.00
attorney

RBFCU (spouse)                                                        $500.00               $0.00        $500.00                     $500.00
Checking account

RBFCU (spouse)                                                        $250.00               $0.00        $250.00                     $250.00
Savings account

                      TOTALS:                                      $12,126.00               $0.00      $12,126.00                    $861.00
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                                            UNITED STATES BANKRUPTCY COURT
                                              NORTHERN DISTRICT OF TEXAS
                                                     DALLAS DIVISION

IN RE:     Willis, ShayLa Deniece                                                     CASE NO 25-31072-13

                                                                                      CHAPTER 13

                                SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                              Continuation Sheet #4


                                                                   Summary

                 A. Gross Property Value (not including surrendered property)                               $12,126.00

                 B. Gross Property Value of Surrendered Property                                                $0.00

                 C. Total Gross Property Value (A+B)                                                        $12,126.00

                 D. Gross Amount of Encumbrances (not including surrendered property)                           $0.00

                 E. Gross Amount of Encumbrances on Surrendered Property                                        $0.00

                 F. Total Gross Encumbrances (D+E)                                                              $0.00

                 G. Total Equity (not including surrendered property) / (A-D)                               $12,126.00

                 H. Total Equity in surrendered items (B-E)                                                     $0.00

                 I. Total Equity (C-F)                                                                      $12,126.00

                 J. Total Exemptions Claimed                                                                $11,265.00

                 K. Total Non-Exempt Property Remaining (G-J)                                                 $861.00
              Case 25-31072-swe13                     Doc 9 Filed 04/10/25 Entered 04/10/25 15:02:52                                           Desc Main
                                                           Document     Page 22 of 52
 Fill in this information to identify your case:

     Debtor 1             ShayLa               Deniece                Willis
                         First Name            Middle Name           Last Name

     Debtor 2
     (Spouse, if filing) First Name            Middle Name           Last Name

     United States Bankruptcy Court for the:             Northern               District of       Texas

     Case number (if 25-31072-13
     known)                                                                                                                                 ❑ Check if this is an
                                                                                                                                                 amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                          12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your
name and case number (if known).
1.     Do any creditors have claims secured by your property?
       ❑ No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       ✔ Yes. Fill in all of the information below.
       ❑
      Part 1:           List All Secured Claims

 2.      List all secured claims. If a creditor has more than one secured claim, list the creditor           Column A               Column B              Column C
         separately for each claim. If more than one creditor has a particular claim, list the other         Amount of claim        Value of collateral   Unsecured
         creditors in Part 2. As much as possible, list the claims in alphabetical order according to the    Do not deduct the
                                                                                                                                    that supports this    portion
         creditor’s name.                                                                                    value of collateral.
                                                                                                                                    claim                 If any

2.1 Newrez/Shellpoint Mortgage                       Describe the property that secures the claim:              $644,000.00             $318,750.00       $325,250.00
       Creditor’s Name
                                                     1945 Snowball Ln. Red Oak, TX 75154
        Attn: Bankruptcy
        PO Box 10826                                 As of the date you file, the claim is: Check all that apply.
       Number            Street                      ❑ Contingent
        Greenville, SC 29603                         ❑ Unliquidated
       City                 State      ZIP Code      ❑ Disputed
       Who owes the debt? Check one.                 Nature of lien. Check all that apply.
       ✔ Debtor 1 only
       ❑                                             ✔ An agreement you made (such as mortgage or secured car loan)
                                                     ❑
       ❑ Debtor 2 only                               ❑ Statutory lien (such as tax lien, mechanic’s lien)
       ❑ Debtor 1 and Debtor 2 only                  ❑ Judgment lien from a lawsuit
       ❑ At least one of the debtors and             ✔ Other (including a right to
                                                     ❑                                    Mortgage
              another                                    offset)
       ❑ Check if this claim relates to a
              community debt
       Date debt was incurred         07/2023        Last 4 digits of account number

         Add the dollar value of your entries in Column A on this page. Write that number here:                     $644,000.00




Official Form 106D                                 Schedule D: Creditors Who Have Claims Secured by Property                                              page 1 of 2
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Debtor 1         ShayLa               Deniece                 Willis                             Case number (if known) 25-31072-13
                First Name            Middle Name             Last Name


                                                                                                        Column A               Column B                Column C
                Additional Page                                                                         Amount of claim        Value of collateral     Unsecured
   Part 1:                                                                                                                     that supports this      portion
                After listing any entries on this page, number them beginning with 2.3,                 Do not deduct the
                followed by 2.4, and so forth.                                                          value of collateral.
                                                                                                                               claim                   If any

 2.2 TTCU FEDERAL CREDIT UN                     Describe the property that secures the claim:                  $62,951.00             $27,875.00        $35,076.00
      Creditor’s Name
                                                 2023 Dodge RAM 1500
      Attn: Bankruptcy
      3720 E 31st St.                           As of the date you file, the claim is: Check all that apply.
      Number         Street                     ❑ Contingent
      Tulsa, OK 74135                           ❑ Unliquidated
      City              State      ZIP Code     ❑ Disputed
      Who owes the debt? Check one.             Nature of lien. Check all that apply.
      ✔ Debtor 1 only
      ❑                                         ✔ An agreement you made (such as mortgage or secured car loan)
                                                ❑
      ❑ Debtor 2 only                           ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ❑ Debtor 1 and Debtor 2 only              ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and         ✔ Other (including a right to
                                                ❑                                    auto
           another                                  offset)
      ❑ Check if this claim relates to a
           community debt
      Date debt was incurred     08/17/2023     Last 4 digits of account number         1    0     0    0

 2.3 United Auto Credit Co                      Describe the property that secures the claim:                  $22,777.00             $12,250.00        $10,527.00
      Creditor’s Name
                                                 2017 Dodge Challenger
      Attn: Bankruptcy                           Has mechnical issues.
      17752 Sky Park Cir. Suite 1
                                                As of the date you file, the claim is: Check all that apply.
      Number         Street
                                                ❑ Contingent
      Irvine, CA 92614                          ❑ Unliquidated
      City              State      ZIP Code     ❑ Disputed
      Who owes the debt? Check one.             Nature of lien. Check all that apply.
      ✔ Debtor 1 only
      ❑                                         ✔ An agreement you made (such as mortgage or secured car loan)
                                                ❑
      ❑ Debtor 2 only                           ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ❑ Debtor 1 and Debtor 2 only              ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and         ✔ Other (including a right to
                                                ❑                                    auto
           another                                  offset)
      ❑ Check if this claim relates to a
           community debt
      Date debt was incurred       7/2022       Last 4 digits of account number         0    0     0    2

      Add the dollar value of your entries in Column A on this page. Write that number here:                   $85,728.00
      If this is the last page of your form, add the dollar value totals from all pages.
                                                                                                             $729,728.00
      Write that number here:




Official Form 106D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 2 of 2
           Case 25-31072-swe13                        Doc 9 Filed 04/10/25 Entered 04/10/25 15:02:52                                              Desc Main
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 Fill in this information to identify your case:

  Debtor 1            ShayLa                  Deniece                  Willis
                     First Name              Middle Name              Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name              Last Name

  United States Bankruptcy Court for the:                Northern                District of       Texas

  Case number        25-31072-13
  (if known)                                                                                                                                   ❑ Check if this is an
                                                                                                                                                    amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the
other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official
Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured
claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out,
number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write your name and case
number (if known).

      Part 1:      List All of Your PRIORITY Unsecured Claims

 1.     Do any creditors have priority unsecured claims against you?
        ❑ No. Go to Part 2.
        ✔ Yes.
        ❑
 2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each
        claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority
        amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims,
        fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.

        (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

                                                                                                                             Total claim      Priority        Nonpriority
                                                                                                                                              amount          amount
  2.1 Internal Revenue Service                          Last 4 digits of account number                                       $30,000.00       $30,000.00            $0.00
        Priority Creditor’s Name
                                                        When was the debt incurred?
         Attn: Bankruptcy
         Po Box 7346
        Number         Street                           As of the date you file, the claim is: Check all that apply.

         Philadelphia, PA 19101                         ❑ Contingent
        City               State          ZIP Code
                                                        ❑ Unliquidated
                                                        ❑ Disputed
        Who incurred the debt? Check one.
        ✔ Debtor 1 only
        ❑                                               Type of PRIORITY unsecured claim:

        ❑ Debtor 2 only                                 ❑ Domestic support obligations
        ❑ Debtor 1 and Debtor 2 only                    ✔ Taxes and certain other debts you owe the government
                                                        ❑
        ❑ At least one of the debtors and another       ❑ Claims for death or personal injury while you were intoxicated
        ❑ Check if this claim is for a                  ❑ Other. Specify
            community debt

        Is the claim subject to offset?
        ✔ No
        ❑
        ❑ Yes
        Remarks: 2019, 2022, 2023, currently on payment plan direct pay.




Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1 of 20
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Debtor 1        ShayLa                  Deniece               Willis                            Case number (if known) 25-31072-13
               First Name               Middle Name          Last Name


   Part 1:      Your PRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.            Total claim     Priority     Nonpriority
                                                                                                                                   amount       amount
  2.2 The Semrad Law Firm                           Last 4 digits of account number         6    7   2    5            $4,163.00    $4,163.00        $0.00
      Priority Creditor’s Name
                                                    When was the debt incurred?                 03/2025
       8117 Preston Road Suite 300
      Number           Street

                                                    As of the date you file, the claim is: Check all that apply.
       Dallas, TX 75225                             ❑ Contingent
      City                State         ZIP Code    ❑ Unliquidated
                                                    ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑                                             Type of PRIORITY unsecured claim:
      ❑ Debtor 2 only                               ❑ Domestic support obligations
      ❑ Debtor 1 and Debtor 2 only                  ❑ Taxes and certain other debts you owe the government
      ❑ At least one of the debtors and another     ❑ Claims for death or personal injury while you were intoxicated
      ❑ Check if this claim is for a                ✔ Other. Specify Attorney Fees
                                                    ❑
           community debt

      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                         page 2 of 20
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                  First Name               Middle Name             Last Name


      Part 2:      List All of Your NONPRIORITY Unsecured Claims

 3.     Do any creditors have nonpriority unsecured claims against you?
        ❑ No. You have nothing to report in this part. Submit this form to the court with your other schedules.
        ✔ Yes
        ❑
 4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
        nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
        included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
        claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
  4.1 Credit Control, LLC                                                Last 4 digits of account number                                                         $733.35
         Nonpriority Creditor’s Name
                                                                         When was the debt incurred?
         Attn: Bankruptcy
         3300 Rider Trail S Suite 500                                    As of the date you file, the claim is: Check all that apply.
                                                                         ❑ Contingent
         Number              Street
         63045                                                           ❑ Unliquidated
         City                     State                    ZIP Code      ❑ Disputed
         Who incurred the debt? Check one.
                                                                         Type of NONPRIORITY unsecured claim:
         ✔ Debtor 1 only
         ❑                                                               ❑ Student loans
         ❑ Debtor 2 only                                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
         ❑ Debtor 1 and Debtor 2 only                                        priority claims
         ❑ At least one of the debtors and another                       ❑ Debts to pension or profit-sharing plans, and other similar debts
         ❑ Check if this claim is for a community debt                   ✔ Other. Specify Collections
                                                                         ❑
         Is the claim subject to offset?
         ✔ No
         ❑
         ❑ Yes
  4.2 AT&T                                                               Last 4 digits of account number                                                         $302.34
         Nonpriority Creditor’s Name
                                                                         When was the debt incurred?
         Attn: Bankruptcy
         208 S. Akard St.                                                As of the date you file, the claim is: Check all that apply.
                                                                         ❑ Contingent
         Number              Street
         Dallas, TX 75202                                                ❑ Unliquidated
         City                     State                    ZIP Code      ❑ Disputed
         Who incurred the debt? Check one.
                                                                         Type of NONPRIORITY unsecured claim:
         ✔ Debtor 1 only
         ❑                                                               ❑ Student loans
         ❑ Debtor 2 only                                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
         ❑ Debtor 1 and Debtor 2 only                                        priority claims
         ❑ At least one of the debtors and another                       ❑ Debts to pension or profit-sharing plans, and other similar debts
         ❑ Check if this claim is for a community debt                   ✔ Other. Specify Ulitities
                                                                         ❑
         Is the claim subject to offset?
         ✔ No
         ❑
         ❑ Yes




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Debtor 1        ShayLa                  Deniece             Willis                          Case number (if known) 25-31072-13
               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.3 Atmos Energy                                               Last 4 digits of account number                                                   $202.41
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       Attn: Bankruptcy
       28801 Morton Rd.                                          As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Number             Street
       Katy, TX 77493                                            ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                   priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Ulitities
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.4 Banfield                                                   Last 4 digits of account number                                                   $700.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       Attn: Bankruptcy
       18101 SE 6th Way                                          As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Number             Street
       Vancouver, WA 98683                                       ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                   priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Medical Bill
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 4 of 20
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Debtor 1        ShayLa                  Deniece             Willis                          Case number (if known) 25-31072-13
               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.5 Cash for Whatever                                          Last 4 digits of account number                                                 $3,492.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       Attn: Bankruptcy
       6400 Sheridan Drive Suite 120                             As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Number             Street
       Buffalo, NY 14221                                         ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                   priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Payday Loan
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.6 COMENITYCAPITAL/DELL                                       Last 4 digits of account number         0    9   8    2                         $3,812.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 12/2020
       Attn: Bankruptcy
       553 S R l Thorton
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
       Dallas, TX 75203
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        ShayLa                  Deniece              Willis                          Case number (if known) 25-31072-13
               First Name               Middle Name          Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                          Total claim
  4.7 Comptroller of Maryland                                     Last 4 digits of account number                                                 $8,000.00
      Nonpriority Creditor’s Name
                                                                  When was the debt incurred?
       Attn: Bankruptcy
       PO Box 466
                                                                  As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                  ❑ Contingent
       Annapolis, MD 21404                                        ❑ Unliquidated
      City                    State                   ZIP Code    ❑ Disputed
      Who incurred the debt? Check one.
                                                                  Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                           ❑ Student loans
      ❑ Debtor 2 only                                             ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                    priority claims
      ❑ At least one of the debtors and another                   ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt               ❑ Other. Specify
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
      Remarks: old bill from 2010, never heard since then.
  4.8 Conn's Credit                                               Last 4 digits of account number                                                 $2,873.00
      Nonpriority Creditor’s Name
                                                                  When was the debt incurred?
       Attn: Bankruptcy
       P.O. Box 2000                                              As of the date you file, the claim is: Check all that apply.
                                                                  ❑ Contingent
      Number             Street
       West Chester, PA 19382                                     ❑ Unliquidated
      City                    State                   ZIP Code    ❑ Disputed
      Who incurred the debt? Check one.
                                                                  Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                           ❑ Student loans
      ❑ Debtor 2 only                                             ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                    priority claims
      ❑ At least one of the debtors and another                   ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt               ✔ Other. Specify Installment Loan
                                                                  ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        ShayLa                  Deniece             Willis                          Case number (if known) 25-31072-13
               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.9 Deborah T. Cantrell                                        Last 4 digits of account number                                                   $200.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       Attn: Bankruptcy
       405 State Highway 121 Bypass Bldg A, Ste 150              As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Number             Street
       Lewisville, TX 75067                                      ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                   priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Medical Bill
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.10 Dell Financial                                             Last 4 digits of account number                                                 $3,812.90
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       Attn: Bankruptcy
       PO Box 81577                                              As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Number             Street
       Austin, TX 78708                                          ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                   priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Installment Loan
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
4.11 DEPT OF ED/AIDVANTAGE                                       Last 4 digits of account number         i   o    u    s                         $30,167.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      Attn: Bankruptcy
      1891 Metro Center Dr.
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
      Reston, VA 20190
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ✔ Student loans
                                                                 ❑
      ❑ Debtor 2 only
                                                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ❑ Other. Specify
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.12 Dept Of Education/Neln                                      Last 4 digits of account number         i   o    u    s                         $64,139.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      Attn: Bankruptcy
      121 S 13th St.
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
      Lincoln, NE 68508
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ✔ Student loans
                                                                 ❑
      ❑ Debtor 2 only
                                                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ❑ Other. Specify
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        ShayLa                  Deniece             Willis                          Case number (if known) 25-31072-13
               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.13 Duke Capital LLC                                           Last 4 digits of account number                                                 $6,000.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       Attn: Bankruptcy
       526 South Church Street                                   As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Number             Street
       Charlotte, NC 28202                                       ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                   priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Lawsuit
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
      Remarks: JPC-24-0986-11
 4.14 Express Collections In                                     Last 4 digits of account number         6    2   2    0                           $834.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                  1/2023
       Attn: Bankruptcy
       818 Saint Joseph St. Suite 200
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
       Rapid City, SD 57701
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Collections
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.15 Glenn Heights Water Utility                                Last 4 digits of account number                                                   $235.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       Attn: Bankruptcy
       1938-C S Hampton Road                                     As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Number             Street
       Red Oak, TX 75154                                         ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                   priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Ulitities
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.16 Hilco Electricity                                          Last 4 digits of account number                                                   $218.83
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       Attn: Bankruptcy
       P.O. Box 127                                              As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Number             Street
       Itasca, TX 76055                                          ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                   priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Ulitities
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        ShayLa                  Deniece             Willis                          Case number (if known) 25-31072-13
               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.17 Hulu                                                       Last 4 digits of account number                                                     $15.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       Attn: Bankruptcy
       2500 Broadway FL 2                                        As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Number             Street
       Santa Monica, CA 90404                                    ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                   priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Ulitities
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.18 Jefferson Capital Systems LLC                              Last 4 digits of account number                                                 $1,555.89
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       Attn: Bankruptcy
       16 McLeland Road                                          As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Number             Street
       Saint Cloud, MN 56303                                     ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                   priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Collections
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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                First Name              Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.19 Netflix                                                    Last 4 digits of account number                                                     $25.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       Attn: Bankruptcy
       121 Albright Way                                          As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Number             Street
       Los Gatos, CA 95032                                       ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                   priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Ulitities
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.20 Nordstrom/Td Bank Usa                                      Last 4 digits of account number         3    7   3    0                           $324.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 10/1991
       Attn: Bankrutpcy
       13531 E Caley Ave.
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
       Englewood, CO 80111
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.21 North Texas Tollway Authority                              Last 4 digits of account number                                                 $2,200.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       Attn: Bankruptcy
       Po Box 660244                                             As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Number             Street
       Dallas, TX 75266-0244                                     ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                   priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Tolls
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.22 NTTA                                                       Last 4 digits of account number                                                 $1,200.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       Attn: Bankruptcy
       5244 S. State Highway 360 Suite 384                       As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Number             Street
       Grand Prairie, TX 75052                                   ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                   priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Tolls
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.23 Prime                                                      Last 4 digits of account number                                                      $8.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       Attn: Bankruptcy
       410 Terry Avenue North                                    As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Number             Street
       Seattle, WA 98109                                         ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                   priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Ulitities
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.24 Progressive Insurance                                      Last 4 digits of account number                                                 $3,851.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       Attn: Bankruptcy
       Po Box 31260                                              As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Number             Street
       Tampa, FL 33631-3260                                      ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                   priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Collections
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        ShayLa                  Deniece             Willis                          Case number (if known) 25-31072-13
               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.25 Radius Global Solutions LLC                                Last 4 digits of account number                                                   $636.81
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       Attn: Bankrutpcy
       7831 Glenroy Rd. Suite 250                                As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Number             Street
       Minneapolis, MN 55439                                     ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                   priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Collections
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.26 Smart Sales & Lease                                        Last 4 digits of account number                                                   $825.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       Attn: Bankruptcy
       3213 W. Main Street Suite 382                             As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Number             Street
       Rapid City, SD 57702                                      ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                   priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Installment Loan
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
4.27 Tek-Collect Inc                                             Last 4 digits of account number         0    0   9    7                          $2,063.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                  1/2025
      Attn: Bankruptcy
      871 Park St.
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
      Columbus, OH 43215
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                      priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Collections
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.28 Texas higher Education Coordinating                         Last 4 digits of account number                                                 $18,082.55
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      Attn: Bankruptcy
      PO Box 12788                                               As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Number             Street
      Austin, TX 78711                                           ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Student Loans
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        ShayLa                  Deniece             Willis                          Case number (if known) 25-31072-13
               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.29 Thd/Cbna                                                   Last 4 digits of account number                                                   $400.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       Attn: Bankruptcy
       PO Box 9714                                               As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Number             Street
       Johnson City, TN 37615                                    ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                   priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.30 T-Mobile                                                   Last 4 digits of account number                                                   $314.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       Attn: Bankruptcy
       PO Box 53410                                              As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Number             Street
       Bellevue, WA 98015                                        ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                   priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Ulitities
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.31 TTCU FEDERAL CREDIT UN                                     Last 4 digits of account number         0    7   4    4                         $4,046.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                  9/2023
       Attn: Bankruptcy
       3720 E 31st St.
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
       Tulsa, OK 74135
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.32 TxTag                                                      Last 4 digits of account number                                                 $1,000.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       Attn: Bankruptcy
       12719 Burnet Road                                         As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Number             Street
       Austin, TX 78727                                          ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                   priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Tolls
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        ShayLa                  Deniece              Willis                          Case number (if known) 25-31072-13
               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
4.33 Williams & Fudge                                            Last 4 digits of account number                                                 $15,568.36
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      Attn: Bankruptcy
      300 Chatham Ave.
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
      Rock Hill, SC 29730                                        ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ✔ Student loans
                                                                 ❑
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ❑ Other. Specify
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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                  First Name            Middle Name            Last Name


      Part 4:     Add the Amounts for Each Type of Unsecured Claim

 6.     Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
        Add the amounts for each type of unsecured claim.



                                                                                                Total claim

 Total claims      6a.   Domestic support obligations                                 6a.                           $0.00
 from Part 1
                   6b.   Taxes and certain other debts you owe the government         6b.                      $30,000.00

                   6c.   Claims for death or personal injury while you were           6c.                           $0.00
                         intoxicated

                   6d.   Other. Add all other priority unsecured claims.              6d.   +                   $4,163.00
                         Write that amount here.

                   6e.   Total. Add lines 6a through 6d.                              6e.
                                                                                                              $34,163.00



                                                                                                Total claim

 Total claims      6f.   Student loans                                                6f.                     $109,874.36
 from Part 2
                   6g.   Obligations arising out of a separation agreement or         6g.                           $0.00
                         divorce that you did not report as priority claims

                   6h.   Debts to pension or profit-sharing plans, and other          6h.                           $0.00
                         similar debts

                   6i.   Other. Add all other nonpriority unsecured claims.           6i.   +                  $67,962.08
                         Write that amount here.

                   6j.   Total. Add lines 6f through 6i.                              6j.
                                                                                                           $177,836.44




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 Fill in this information to identify your case:

     Debtor 1          ShayLa                      Deniece              Willis
                      First Name               Middle Name              Last Name

     Debtor 2
     (Spouse, if filing) First Name            Middle Name              Last Name

     United States Bankruptcy Court for the:                 Northern            District of       Texas

     Case number      25-31072-13
     (if known)                                                                                                                           ❑ Check if this is an
                                                                                                                                                  amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your
name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
       ✔ No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
       ❑
       ❑ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example,
       rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired leases.


            Person or company with whom you have the contract or lease                         State what the contract or lease is for

 2.1
          Name


          Number                      Street


          City                             State                          ZIP Code

 2.2
          Name


          Number                      Street


          City                             State                          ZIP Code

 2.3
          Name


          Number                      Street


          City                             State                          ZIP Code

 2.4
          Name


          Number                      Street


          City                             State                          ZIP Code




Official Form 106G                                      Schedule G: Executory Contracts and Unexpired Leases                                              page 1 of 1
         Case 25-31072-swe13                           Doc 9 Filed 04/10/25 Entered 04/10/25 15:02:52                                        Desc Main
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 Fill in this information to identify your case:

  Debtor 1             ShayLa                 Deniece                 Willis
                      First Name             Middle Name              Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name              Last Name

  United States Bankruptcy Court for the:                  Northern            District of       Texas

  Case number         25-31072-13
  (if known)                                                                                                                               ❑ Check if this is an
                                                                                                                                               amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                         12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number
the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if
known). Answer every question.

 1.     Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
        ✔ No
        ❑
        ❑ Yes
 2.     Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
        California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
        ❑ No. Go to line 3.
        ✔ Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
        ❑
               ❑ No
               ✔ Yes. In which community state or territory did you live?
               ❑                                                                        Texas             . Fill in the name and current address of that person.

                   Willis, Gray
                   Name of your spouse, former spouse, or legal equivalent
                   1945 Snowball Ln.
                   Number                 Street
                   Red Oak, TX 75154
                   City                            State                          ZIP Code

 3.     In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line
        2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D),
        Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                                          Column 2: The creditor to whom you owe the debt

                                                                                                         Check all schedules that apply:
 3.1
        Name                                                                                             ❑ Schedule D, line
                                                                                                         ❑ Schedule E/F, line
        Number                          Street
                                                                                                         ❑ Schedule G, line
        City                                       State                                     ZIP Code

 3.2
        Name                                                                                             ❑ Schedule D, line
                                                                                                         ❑ Schedule E/F, line
        Number                          Street
                                                                                                         ❑ Schedule G, line
        City                                       State                                     ZIP Code




Official Form 106H                                                      Schedule H: Codebtors                                                           page 1 of 1
         Case 25-31072-swe13                        Doc 9 Filed 04/10/25 Entered 04/10/25 15:02:52                                              Desc Main
                                                         Document     Page 46 of 52
 Fill in this information to identify your case:

  Debtor 1           ShayLa                   Deniece             Willis
                     First Name              Middle Name         Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name         Last Name                                         Check if this is:

                                                   Northern      District of      Texas
                                                                                                                   ❑ An amended filing
  United States Bankruptcy Court for the:
                                                                                                                   ❑ A supplement showing postpetition chapter
  Case number                                                                                                          13 income as of the following date:
                     25-31072-13
  (if known)
                                                                                                                       MM / DD / YYYY



Official Form 106I
Schedule I: Your Income                                                                                                                                         12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying
correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are
separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to
this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

   Part 1:       Describe Employment


 1. Fill in your employment                                                Debtor 1                                          Debtor 2 or non-filing spouse
    information.

    If you have more than one job,          Employment status            ❑ Employed                                        ✔ Employed
                                                                                                                           ❑
    attach a separate page with                                          ✔ Not employed
                                                                         ❑                                                 ❑ Not employed
    information about additional
    employers.
                                            Occupation                                                                       Senior Programme Management
    Include part-time, seasonal, or
    self-employed work.
                                            Employer’s name                                                                  Federal Aviation Administration
    Occupation may include student
    or homemaker, if it applies.
                                            Employer’s address                                                               10101 Hillwood Pkwy
                                                                         Number       Street                               Number           Street




                                                                                                                             Fort Worth, TX 76177
                                                                         City               State        ZIP Code          City                State         ZIP Code


                                            How long employed there?                                                         15 years


   Part 2:       Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
    unless you are separated.

    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                    For Debtor 1             For Debtor 2 or
                                                                                                                             non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions). If not paid monthly, calculate what the monthly wage would be.        2.                   $0.00                       $8,191.73

 3. Estimate and list monthly overtime pay.                                            3.    +              $0.00        +                  $0.00


 4. Calculate gross income. Add line 2 + line 3.                                       4.                  $0.00                       $8,191.73



Official Form 106I                                                  Schedule I: Your Income                                                                     page 1
           Case 25-31072-swe13                                      Doc 9 Filed 04/10/25 Entered 04/10/25 15:02:52                                                                               Desc Main
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Debtor 1              ShayLa                           Deniece                         Willis                                         Case number (if known) 25-31072-13
                     First Name                      Middle Name                      Last Name


                                                                                                                                        For Debtor 1                     For Debtor 2 or
                                                                                                                                                                         non-filing spouse

                                                                                                                    ➔ 4.                                  $0.00                            $8,191.73
     Copy line 4 here..........................................................................................................................................................................

 5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                                    5a.                         $0.00                               $0.00

     5b. Mandatory contributions for retirement plans                                                                     5b.                         $0.00                               $0.00

     5c. Voluntary contributions for retirement plans                                                                     5c.                         $0.00                               $0.00

     5d. Required repayments of retirement fund loans                                                                     5d.                         $0.00                               $0.00

     5e. Insurance                                                                                                        5e.                         $0.00                               $0.00

     5f.   Domestic support obligations                                                                                   5f.                         $0.00                               $0.00

     5g. Union dues                                                                                                       5g.                         $0.00                               $0.00

                                                                                                                          5h. +                       $0.00          +                    $0.00
     5h. Other deductions. Specify:

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                           6.                          $0.00                               $0.00


 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                                   7.                          $0.00                        $8,191.73

 8. List all other income regularly received:
     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross receipts,
           ordinary and necessary business expenses, and the total monthly net
           income.                                                                   8a.                                                              $0.00                               $0.00

     8b. Interest and dividends                                                                                           8b.                         $0.00                               $0.00
     8c. Family support payments that you, a non-filing spouse, or a
         dependent regularly receive
           Include alimony, spousal support, child support, maintenance, divorce
           settlement, and property settlement.                                                                           8c.                         $0.00                               $0.00

     8d. Unemployment compensation                                                                                        8d.                         $0.00                               $0.00

     8e. Social Security                                                                                                  8e.                         $0.00                        $1,100.00
     8f.   Other government assistance that you regularly receive
           Include cash assistance and the value (if known) of any non-cash
           assistance that you receive, such as food stamps (benefits under the
           Supplemental Nutrition Assistance Program) or housing subsidies.
           Specify:                                                                                                       8f.                         $0.00                               $0.00

     8g. Pension or retirement income                                                                                     8g.                         $0.00                               $0.00

                                                                                                                          8h. +                       $0.00          +                    $0.00
     8h. Other monthly income. Specify:

 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                                9.                        $0.00                        $1,100.00

 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                           10.                       $0.00        +               $9,291.73             =   $9,291.73

 11. State all other regular contributions to the expenses that you list in Schedule J.
     Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
     friends or relatives.
     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                                                                   11. +         $0.00


Official Form 106I                                                                            Schedule I: Your Income                                                                                          page 2
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Debtor 1         ShayLa               Deniece               Willis                          Case number (if known) 25-31072-13
                First Name           Middle Name           Last Name


 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
     Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies          12.        $9,291.73
                                                                                                                                       Combined
                                                                                                                                       monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
     ✔ No.
     ❑
     ❑ Yes. Explain:




Official Form 106I                                              Schedule I: Your Income                                                         page 3
                Case 25-31072-swe13                        Doc 9 Filed 04/10/25 Entered 04/10/25 15:02:52                                    Desc Main
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 Fill in this information to identify your case:

  Debtor 1                  ShayLa                  Deniece              Willis
                                                                                                                 Check if this is:
                           First Name               Middle Name         Last Name
                                                                                                                 ❑ An amended filing
  Debtor 2
  (Spouse, if filing)      First Name               Middle Name         Last Name
                                                                                                                 ❑ A supplement showing postpetition chapter 13
                                                                                                                      expenses as of the following date:
  United States Bankruptcy Court for the:                         Northern District of Texas
                                                                                                                      MM / DD / YYYY
  Case number                     25-31072-13
  (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                       12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?
     ✔ No. Go to line 2.
     ❑
     ❑ Yes. Does Debtor 2 live in a separate household?
             ❑ No
             ❑ Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                    ❑ No
     Do not list Debtor 1 and                  ✔ Yes. Fill out this information
                                               ❑                                        Dependent's relationship to        Dependent's        Does dependent live
     Debtor 2.                                                                          Debtor 1 or Debtor 2               age                with you?
                                                    for each dependent...............
     Do not state the dependents'
     names.
                                                                                        Sibling                             41                       ✔ Yes.
                                                                                                                                               ❑ No. ❑
                                                                                        Child                               27                       ✔ Yes.
                                                                                                                                               ❑ No. ❑
                                                                                        Relative                            1                        ✔ Yes.
                                                                                                                                               ❑ No. ❑
                                                                                        Child                               26                       ✔ Yes.
                                                                                                                                               ❑ No. ❑
                                                                                        Child                               21                       ✔ Yes.
                                                                                                                                               ❑ No. ❑
 3. Do your expenses include                       ✔ No
                                                   ❑
    expenses of people other than
    yourself and your dependents?
                                                   ❑ Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a
 date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                 Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent
    for the ground or lot.                                                                                                      4.                $3,600.00

     If not included in line 4:
     4a. Real estate taxes                                                                                                      4a.                     $0.00
     4b. Property, homeowner's, or renter's insurance                                                                           4b.                     $0.00
     4c. Home maintenance, repair, and upkeep expenses                                                                          4c.                     $0.00
     4d. Homeowner's association or condominium dues                                                                            4d.                   $42.00




Official Form 106J                                                                Schedule J: Your Expenses                                                         page 1
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 Debtor 1            ShayLa                 Deniece              Willis                                      Case number (if known) 25-31072-13
                     First Name             Middle Name          Last Name


                                                                                                                            Your expenses


 5.    Additional mortgage payments for your residence, such as home equity loans                                 5.                        $0.00

 6.    Utilities:
       6a. Electricity, heat, natural gas                                                                         6a.                  $435.00
       6b. Water, sewer, garbage collection                                                                       6b.                  $235.00
       6c. Telephone, cell phone, Internet, satellite, and cable services                                         6c.                  $570.00

       6d. Other. Specify: Subscriptions                                                                          6d.                   $60.00
 7.    Food and housekeeping supplies                                                                             7.                 $1,254.00

 8.    Childcare and children’s education costs                                                                   8.                        $0.00

 9.    Clothing, laundry, and dry cleaning                                                                        9.                    $70.00

 10. Personal care products and services                                                                          10.                   $70.00

 11.   Medical and dental expenses                                                                                11.                   $80.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                                 12.                  $300.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                           13.                       $0.00

 14. Charitable contributions and religious donations                                                             14.                       $0.00

 15. Insurance.
     Do not include insurance deducted from your pay or included in lines 4 or 20.
       15a. Life insurance                                                                                        15a.                      $0.00
       15b. Health insurance                                                                                      15b.                      $0.00
       15c. Vehicle insurance                                                                                     15c.                 $715.13

       15d. Other insurance. Specify:                                                                             15d.                      $0.00

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                                   16.                       $0.00

 17. Installment or lease payments:
       17a. Car payments for Vehicle 1                                                                            17a.                      $0.00
       17b. Car payments for Vehicle 2                                                                            17b.                      $0.00
       17c. Other. Specify:                                                                                       17c.                      $0.00
       17d. Other. Specify:                                                                                       17d.                      $0.00
 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                       18.                       $0.00

 19. Other payments you make to support others who do not live with you.
       Specify:                                                                                                   19.                       $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
       20a. Mortgages on other property                                                                           20a.                      $0.00
       20b. Real estate taxes                                                                                     20b.                      $0.00
       20c. Property, homeowner’s, or renter’s insurance                                                          20c.                      $0.00
       20d. Maintenance, repair, and upkeep expenses                                                              20d.                      $0.00
       20e. Homeowner’s association or condominium dues                                                           20e.                      $0.00



Official Form 106J                                                          Schedule J: Your Expenses                                               page 2
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 Debtor 1            ShayLa              Deniece               Willis                                       Case number (if known) 25-31072-13
                     First Name          Middle Name           Last Name



 21. Other. Specify:                                                                                             21.    +                $0.00


 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                               22a.                $7,431.13

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                       22b.                     $0.00
      22c. Add line 22a and 22b. The result is your monthly expenses.                                            22c.                $7,431.13


 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                          23a.                $9,291.73

      23b. Copy your monthly expenses from line 22c above.                                                       23b.       –         $7,431.13
      23c. Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                               23c.                $1,860.60



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔ No.
      ❑
      ❑ Yes.




Official Form 106J                                                       Schedule J: Your Expenses                                                page 3
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 Fill in this information to identify your case:

  Debtor 1                  ShayLa                 Deniece            Willis
                            First Name             Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)       First Name             Middle Name        Last Name

  United States Bankruptcy Court for the:                        Northern District of Texas

  Case number                      25-31072-13                                                                                     ❑ Check if this is an
  (if known)                                                                                                                            amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                         12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money
or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
   ❑ Yes. Name of person                                                             . Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                       Signature (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are true and correct.




   ✘ /s/ ShayLa Deniece Willis
        ShayLa Deniece Willis, Debtor 1


        Date 04/10/2025
                 MM/ DD/ YYYY




Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules
